Case 1:09-cr-20505-DMM Document 112 Entered on FLSD Docket 01/27/2011 Page 1 of 4




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 10-20505-CR-Middlebrooks/Garber


  UNITED STATES OF AMERICA,

  v.

  MILICIADES CORTINA-MEDINA,

        Defendant.
  ______________________________/

                REPORT AND RECOMMENDATION ON CHANGE OF PLEA

         THIS CAUSE was before the Court by Order of Reference from United States District Judge

  Donald M. Middlebrooks and the consent of the parties for the acceptance by a United States

  Magistrate Judge of a guilty plea by the defendant in this cause. Pursuant to such reference, the

  Court has conducted a change of plea hearing on January 27, 2011, which was attended by the

  defendant Cortina-Medina, his attorney Sherri Ann Romano, Esquire, and Assistant United States

  Attorney Adam S. Fels. The Court hereby advises as follows:

         1. At the commencement of the change of plea proceedings, the Court advised the defendant

  that he had a right to have these proceedings conducted by the United States District Judge assigned

  to this case. The defendant was advised that a Magistrate Judge was conducting these proceedings

  by Order of Reference from the District Judge, based upon the consent of the defendant, his attorney,

  and the Assistant United States Attorney to whom this cause is assigned, as evidenced by the filing

  of a Waiver executed by the defendant, his counsel, and government counsel. The Court advised the

  defendant that the sentence would be imposed by the District Judge, who would make all findings and
Case 1:09-cr-20505-DMM Document 112 Entered on FLSD Docket 01/27/2011 Page 2 of 4




  rulings regarding such sentence and would conduct a sentencing hearing at a time scheduled by the

  District Judge.

         2. The defendant was advised that he did not have to permit the undersigned United States

  Magistrate Judge to conduct the change of plea hearing and could request that it be conducted only

  by a United States District Judge. All parties and counsel agreed and consented to these proceedings

  being conducted by the undersigned.

         3. The Court then conducted a plea colloquy with the defendant consistent with the outline

  set forth in the Bench Book for District Judges and in conformity with the requirements of Rule 11

  of the Federal Rules of Criminal Procedure.

         4. The Court advised the defendant of the maximum sentence possibilities as to Count 1 of

  the Indictment to which he was tendering a guilty plea. The Court also advised the defendant of the

  mandatory special assessment of $100.00 which must be paid at the time of sentencing.

         5. The defendant acknowledged that he was satisfied with the services of his attorney and that

  he had full opportunity to discuss all facets of his case with his attorney, which he acknowledged that

  he understood.

         6. The defendant pled guilty to Count 1 of the Indictment, charging that he and other named

  defendants “[B]eginning in or around 1998, the exact date being unknown to the Grand Jury, and

  continuing through on or about November 7, 2008, in the country of Colombia, South America and

  elsewhere, the defendants . . . did , knowingly and intentionally combine, conspire, confederate, and

  agree with each other and with persons known and unknown to the Grand Jury, to distribute a

  controlled substance in Schedule II, knowing that such controlled substance would be unlawfully

  imported into the United States, in violation of Title 21, United States Code, Section 959(a)(2), all


                                                    2
Case 1:09-cr-20505-DMM Document 112 Entered on FLSD Docket 01/27/2011 Page 3 of 4




  in violation of Title 21, United States Code, Section 963.” This violation involved five (5) kilograms

  or more of a mixture and substance containing a detectable amount of cocaine.

          7. The defendant was advised that Count 1, to which he was pleading guilty, carried a

  mandatory minimum sentence of 10 years’ imprisonment and up to life imprisonment. In addition

  thereto, the Court could impose a monetary fine of up to $4,000,000 as authorized by statute.

  Further, the defendant, upon completion of his term of imprisonment, would be subjected to a term

  of supervised release for a period of at least five (5) years, and is subject to forfeiture of properties

  as set forth in the Indictment.

          8. The government filed a factual basis, made part of the record and executed by the

  government, the defendant and his counsel, for the guilty plea which consisted of all of the essential

  elements of the offense to which the defendant is pleading guilty. The government shall dismiss all

  remaining counts in the Indictment as to this defendant at the time of sentencing.

          9. The defendant was remanded to the custody of the United States Marshal and was

  referred to the United States Probation Office for the preparation of a Pre-sentence Report.

  Sentencing was scheduled for Tuesday, March 22nd, 2011, at 11:00.M. before U.S. District

  Judge Donald M. Middlebrooks, in his Courtroom on the 11th Floor of the James Lawrence

  King Federal Justice Building, 99 N.E. 4th Street, Miami, Florida 33132.

          Accordingly, and based upon the foregoing and the plea colloquy conducted in this cause, the

  undersigned hereby

          RECOMMENDS that the defendant be found to have freely and voluntarily entered his guilty

  pleas as to Count 1 of the Indictment, that his guilty plea be accepted, that he be adjudicated guilty




                                                     3
Case 1:09-cr-20505-DMM Document 112 Entered on FLSD Docket 01/27/2011 Page 4 of 4




  of such offense, and that a sentencing hearing as set forth above be conducted for a final disposition

  of this cause.

          The parties have fourteen (14) days from the date of this Report and Recommendation within

  which to file written objections, if any, with United States District Judge Donald M. Middlebrooks.

  See 28 U.S.C. §636. Failure to file timely objections may bar the parties from attacking on appeal

  the factual findings contained herein. LoConte v. Dugger, 847 F.2d 745, 750 (11th Cir.), cert.

  denied, 488 U.S. 958 (1988).

          RESPECTFULLY SUBMITTED at the United States Courthouse, Miami, Florida this 27th

  day of January, 2011.


                                                        _________________________________
                                                        BARRY L. GARBER
                                                        UNITED STATES MAGISTRATE JUDGE




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